                       Case 2:18-cv-00738  Document
                                UNITED STATES           2 Filed
                                              DISTRICT COURT,   01/29/18
                                                              CENTRAL      Page
                                                                      DISTRICT    1 of 3 Page ID #:90
                                                                               OF CALIFORNIA
                                                                             CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself                     )         DEFENDANTS                 ( Check box if you are representing yourself                   )

MARIA CHAVEZ                                                                                  SAM'S WEST, INC., a Delaware limited liability company


(b) County of Residence of First Listed Plaintiff Los Angeles County County of Residence of First Listed Defendant Benton County AR
(EXCEPT IN U.S. PLAINTIFF CASES)                                                             (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                           Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                         representing yourself, provide the same information.
Krystale Rosal, Esq.                                                                          Raena W. Ohiri, Esq.
LAW OFFICES OF MAURO FIORE, JR., APC                                                          Pettit Kohn Ingrassia Lutz & Dolin, PC,
135 East Lemon Avenue, Monrovia, CA 91016                                                     5901 W. Century Blvd., Ste. 1100, Los Angeles, CA 90045;
(626) 856-5856                                                                                (310) 649-5772
II. BASIS OF JURISDICTION (Place an X in one box only.)                             III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                          (Place an X in one box for plaintiff and one for defendant)
                                                                                                                  PTF        DEF                                             PTF       DEF
    1. U.S. Government                   3. Federal Question (U.S.                                                      1          1    Incorporated or Principal Place            4         4
                                                                                    Citizen of This State
    Plaintiff                            Government Not a Party)                                                                        of Business in this State
                                                                                    Citizen of Another State            2          2    Incorporated and Principal Place           5         5
                                                                                                                                        of Business in Another State
    2. U.S. Government                   4. Diversity (Indicate Citizenship         Citizen or Subject of a
                                                                                    Foreign Country                     3          3 Foreign Nation                                6         6
    Defendant                            of Parties in Item III)

IV. ORIGIN (Place an X in one box only.)
                                                                                                                                                     6. Multi-
     1. Original            2. Removed from             3. Remanded from               4. Reinstated or        5. Transferred from Another              District
       Proceeding              State Court                 Appellate Court                Reopened                District (Specify)                 Litigation


V. REQUESTED IN COMPLAINT: JURY DEMAND:                                   Yes           No      (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23:                        Yes         No                         MONEY DEMANDED IN COMPLAINT: $ no amount claimed
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause.            Do not cite jurisdictional statutes unless diversity.)
28 U.S.C. § 1332, 1441(a) and (b). Plaintiff alleges Products Liability and General Negligence; Plaintiff claims substantial personal injuries that involve a torn ligament in his
foot such that the amount in controversy is greater than $75,000.

VII. NATURE OF SUIT (Place an X in one box only).
     OTHER STATUTES                  CONTRACT            REAL PROPERTY CONT.                 IMMIGRATION                    PRISONER PETITIONS                     PROPERTY RIGHTS
    375 False Claims Act           110 Insurance               240 Torts to Land             462 Naturalization               Habeas Corpus:                820 Copyrights
                                                                                             Application
    400 State                      120 Marine                   245 Tort Product                                             463 Alien Detainee             830 Patent
    Reapportionment                                             Liability                  465 Other                         510 Motions to Vacate
                                   130 Miller Act               290 All Other Real         Immigration Actions               Sentence                       840 Trademark
    410 Antitrust
                                                                Property                       TORTS                         530 General                       SOCIAL SECURITY
    430 Banks and Banking           140 Negotiable
                                    Instrument                      TORTS                PERSONAL PROPERTY                   535 Death Penalty              861 HIA (1395ff)
    450 Commerce/ICC                150 Recovery of           PERSONAL INJURY
    Rates/Etc.                                                                             370 Other Fraud                             Other:               862 Black Lung (923)
                                    Overpayment &              310 Airplane
    460 Deportation                 Enforcement of                                           371 Truth in Lending            540 Mandamus/Other             863 DIWC/DIWW (405 (g))
                                                               315 Airplane
                                    Judgment                   Product Liability
    470 Racketeer Influ-                                                                     380 Other Personal              550 Civil Rights               864 SSID Title XVI
    enced & Corrupt Org.            151 Medicare Act           320 Assault, Libel &          Property Damage                 555 Prison Condition
                                                               Slander                                                                                      865 RSI (405 (g))
    480 Consumer Credit             152 Recovery of                                          385 Property Damage          560 Civil Detainee
                                                               330 Fed. Employers'           Product Liability
                                    Defaulted Student          Liability                                                  Conditions of                        FEDERAL TAX SUITS
    490 Cable/Sat TV                Loan (Excl. Vet.)                                         BANKRUPTCY                  Confinement
                                                               340 Marine                                                                                    870 Taxes (U.S. Plaintiff or
    850 Securities/Com-                                                                      422 Appeal 28              FORFEITURE/PENALTY                   Defendant)
                                   153 Recovery of             345 Marine Product
    modities/Exchange              Overpayment of                                            USC 158                     625 Drug Related                    871 IRS-Third Party 26 USC
                                                               Liability
    890 Other Statutory            Vet. Benefits                                             423 Withdrawal 28           Seizure of Property 21              7609
    Actions                                                    350 Motor Vehicle             USC 157                     USC 881
                                   160 Stockholders'
    891 Agricultural Acts          Suits                       355 Motor Vehicle              CIVIL RIGHTS                690 Other
                                                               Product Liability
    893 Environmental               190 Other                                                440 Other Civil Rights                LABOR
    Matters                                                    360 Other Personal
                                    Contract                   Injury                        441 Voting                     710 Fair Labor Standards
    895 Freedom of Info.                                                                                                    Act
                                   195 Contract                362 Personal Injury-
    Act                            Product Liability           Med Malpratice                442 Employment                 720 Labor/Mgmt.
    896 Arbitration                                            365 Personal Injury-          443 Housing/                   Relations
                                   196 Franchise                                             Accommodations
                                                               Product Liability                                            740 Railway Labor Act
    899 Admin. Procedures          REAL PROPERTY                                             445 American with
                                                               367 Health Care/                                             751 Family and Medical
    Act/Review of Appeal of        210 Land                    Pharmaceutical                Disabilities-
                                                                                             Employment                     Leave Act
    Agency Decision                Condemnation                Personal Injury
                                                               Product Liability             446 American with              790 Other Labor
                                   220 Foreclosure
                                                                                             Disabilities-Other             Litigation
    950 Constitutionality of                                   368 Asbestos
                                   230 Rent Lease &            Personal Injury                                              791 Employee Ret. Inc.
    State Statutes                                                                           448 Education
                                   Ejectment                   Product Liability                                            Security Act

FOR OFFICE USE ONLY:                      Case Number:                                 2:18-CV-738
CV-71 (10/14)                                                                   CIVIL COVER SHEET                                                                          Page 1 of 3
                          Case 2:18-cv-00738  Document
                                   UNITED STATES           2 Filed
                                                 DISTRICT COURT,   01/29/18
                                                                 CENTRAL      Page
                                                                         DISTRICT    2 of 3 Page ID #:91
                                                                                  OF CALIFORNIA
                                                                                 CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.
QUESTION A: Was this case removed
from state court?                                                   STATE CASE WAS PENDING IN THE COUNTY OF:                                     INITIAL DIVISION IN CACD IS:
                    Yes         No
                                                         Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                            Western
If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the                 Orange                                                                                             Southern
corresponding division in response to
Question E, below, and continue from there.              Riverside or San Bernardino                                                                         Eastern



QUESTION B: Is the United States, or B.1. Do 50% or more of the defendants who reside in                             YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  the district reside in Orange Co.?                                              Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                            from there.
                                                    check one of the boxes to the right
                    Yes         No
                                                                                                                     NO. Continue to Question B.2.

                                                    B.2. Do 50% or more of the defendants who reside in              YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question C. If "yes," answer      the district reside in Riverside and/or San Bernardino           Enter "Eastern" in response to Question E, below, and continue
Question B.1, at right.                             Counties? (Consider the two counties together.)                  from there.

                                                    check one of the boxes to the right                              NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.

QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the                         YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                                                  Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                            from there.
                                                    check one of the boxes to the right
                    Yes         No
                                                                                                                     NO. Continue to Question C.2.

                                                    C.2. Do 50% or more of the plaintiffs who reside in the          YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer      district reside in Riverside and/or San Bernardino               Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                             Counties? (Consider the two counties together.)                  from there.

                                                    check one of the boxes to the right                              NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.
                                                                                                                A.                         B.                             C.
                                                                                                                                    Riverside or San            Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                    Orange County                Bernardino County            Santa Barbara, or San
                                                                                                                                                                 Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)

                D.1. Is there at least one answer in Column A?                                                 D.2. Is there at least one answer in Column B?
                                        Yes              No                                                                           Yes            No
                    If "yes," your case will initially be assigned to the                                         If "yes," your case will initially be assigned to the
                                 SOUTHERN DIVISION.                                                                             EASTERN DIVISION.
     Enter "Southern" in response to Question E, below, and continue from there.                                  Enter "Eastern" in response to Question E, below.
                          If "no," go to question D2 to the right.                                           If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                                 Enter "Western" in response to Question E, below.


QUESTION E: Initial Division?                                                                                               INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above:                                                                WESTERN

QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                    Yes              No
 CV-71 (10/14)                                                                     CIVIL COVER SHEET                                                                      Page 2 of 3
                        Case 2:18-cv-00738  Document
                                 UNITED STATES           2 Filed
                                               DISTRICT COURT,   01/29/18
                                                               CENTRAL      Page
                                                                       DISTRICT    3 of 3 Page ID #:92
                                                                                OF CALIFORNIA
                                                                             CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                         NO                  YES

        If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                                     NO                  YES
        If yes, list case number(s):


        Civil cases are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. For other reasons would entail substantial duplication of labor if heard by different judges.

        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by different judges.


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): /s/Raena W. Ohiri, Esq.                                                                             DATE: January 29, 2018

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                   (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

        863                       DIWC             All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

        863                       DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                   amended. (42 U.S.C. 405 (g))


        864                       SSID             All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
                                                   amended.

        865                       RSI              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                   (42 U.S.C. 405 (g))




CV-71 (10/14)                                                                  CIVIL COVER SHEET                                                                   Page 3 of 3
